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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

UNITED STATES OF AMERICA                                   §
                                                           §
VS.                                                        §    CRIMINAL NO. 4:24-CR-001-Y
                                                           §
JOHN ANTHONY CASTRO (1)                                    §

                               AMENDED VERDICT OF THE COURT1

The Court finds the defendant, John Anthony Castro:

         GUILTY as to Count 1 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 2 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 3 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 4 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 5 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 6 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 7 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 8 of the Indictment, Aiding and Assisting in the Preparation
         and Presentation of a False or Fraudulent Return.

         GUILTY as to Count 9 of the Indictment, Aiding and Assisting in the Preparation
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  The Court issues this amended verdict as authorized by Federal Rule of Criminal Procedure 36. The Court has been
notified by the government that the language of the original verdict, specifically the phrase “Aiding and Abetting,”
does not accurately reflect the language of the indictment and the statute at issue in this case. See 26 U.S.C. 7206(2).
Accordingly, the Court issues this amended verdict, substituting “Assisting” for “Abetting” as to each count charged,
to accurately reflect the statutory language. Under Rule 36, the Court may give to the parties any notice it deems
appropriate to correct a clerical error in a judgment. Believing that this change is so innocuous that no notice is
appropriate, the Court instead reissues its judgment as amended here. The parties must file any objection they may
have to this amendment no later than June 6, 2024.
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   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 10 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 11 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 12 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 13 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 14 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 15 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 16 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 17 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 18 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 19 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 20 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 21 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 22 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 23 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 24 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.
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   GUILTY as to Count 25 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 26 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.P

   GUILTY as to Count 27 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 28 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 29 of the Indictment, Aiding and Abetting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 30 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 31 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 32 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   GUILTY as to Count 33 of the Indictment, Aiding and Assisting in the Preparation
   and Presentation of a False or Fraudulent Return.

   SIGNED May 29, 2024.

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                                           TERRY R. MEANS
                                           UNITED STATES DISTRICT JUDGE
